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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                     :      Crim. No. 2:18-CR-101-12
                                             :
vs.                                          :
                                             :
SAMANTHA HOLLIS et al                        :
                                             :



DEFENDANT’S MOTION TO JOIN PRE-TRIAL MOTIONS FILED BY CO-COUNSEL


TO THE HONORABLE GENE E.K. PRATTER, JUDGE, UNITED STATES EASTERN
DISTRICT OF PENNSYLVANIA, PHILADELPHIA:

         COMES NOW the defendant, Samantha Hollis, through her attorney Lawrence J.
Bozzelli, Esquire, and makes the request to join the following pre-trial motions filed by co-
counsel and averts the following:


1) Motion In Limine To Limit Expert Testimony To A Proper Testimonial Format And Opinions
      Disclosed In Accordance With Rule 16(A)(1)(G) [Docket #392]
2) Motion in Limine to Preclude (1) References to "Illegal" or "Criminal" Prescriptions and (2) the
      Term "Reasonable Medical Certainty" [Docket #393]
3) Motion to Exclude Co-Defendants' Statements Pursuant to United States v Bruton [Docket
      #399]



      WHEREFORE, it is respectfully requested that this Honorable Court enter an Order granting

the defendant Samantha Hollis permission to join the above listed pre-trial motions and

incorporate the defense arguments contained therein.
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                                  Respectfully submitted,




                                  LAWRENCE J. BOZZELLI
                                  Attorney for Samantha Hollis
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                                CERTIFICATE OF SERVICE



       I, Lawrence J. Bozzelli, attorney for Ms. Hollis, hereby certify that I have served copies

of the Defendant’s Motion for Joinder via PACER/e-mail to (1) Mary Costello, Assistant United

States Attorney, and (2) the Honorable Gene E.K. Pratter on the below listed date.




                                                    LAWRENCE J. BOZZELLI
                                                    Attorney for Samantha Hollis



DATE: May 12, 2022
